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                  EXHIBIT 4
              Case 6:23-cv-00196-ADA-DTG Document 41-4 Filed 02/09/24 Page 2 of 3


Ethan Kovar

From:                              Joon Chung
Sent:                              Tuesday, January 9, 2024 3:56 PM
To:                                sdraffin@keyhanillc.com
Cc:                                Jacqueline Altman; Bailey Benedict; Jeannet Santos; palmer@namanhowell.com; Andy
                                   Powell; dkeyhani@keyhanillc.com; fstephenson@keyhanillc.com;
                                   atindel@andytindel.com; FRService-Samsonite-23cv196; Christina Chambers
Subject:                           RE: Swissdigital v Samsonite - Case 6:23-cv-196: 2023-10-16 Samsonite Resp re
                                   Swissdigital Ltr re JX Disc Deficiencies


Counsel,

Samsonite International will not provide full residential addresses for former or current employees. The state of
residence is sufficient for Swissdigital to understand that venue is not proper in the Western District of Texas, regardless
of whether a few of the dozens of individuals we have identified may be within or outside of the Massachusetts court’s
subpoena power. None of Samsonite’s relevant operations or employees are in Texas. Full residential addresses for
individuals residing outside of Texas will not change that fact. Swissdigital has what it needs for venue discovery
purposes. Please let us know whether you intend to file an amended response to Samsonite International’s motion to
dismiss or transfer venue by this Friday, January 12, so that we may otherwise notify the Court that venue discovery is
completed and the motion is ready for resolution.

Best,
Joon

From: sdraffin@keyhanillc.com <sdraffin@keyhanillc.com>
Sent: Wednesday, December 27, 2023 3:08 PM
To: Joon Chung <chung@fr.com>
Cc: Jacqueline Altman <jaltman@namanhowell.com>; Bailey Benedict <benedict@fr.com>; Jeannet Santos
<jsantos@fr.com>; palmer@namanhowell.com; Andy Powell <powell@namanhowell.com>; dkeyhani@keyhanillc.com;
fstephenson@keyhanillc.com; atindel@andytindel.com; FRService-Samsonite-23cv196 <FRService-Samsonite-
23cv196@fr.com>; Christina Chambers <cchambers@namanhowell.com>
Subject: RE: Swissdigital v Samsonite - Case 6:23-cv-196: 2023-10-16 Samsonite Resp re Swissdigital Ltr re JX Disc
Deficiencies


[This email originated outside of F&R.]



Dear Counsel,

Thank you for the supplemental responses and production served by Samsonite International on Dec.
4, 2023.

Amended Appendix A provides only the last known state of residence for current Samsonite
employees. It is unclear why current information would not be available for current employees;
perhaps this was a mistake. We ask that full residential addresses (not merely the state of residence)
of all identified employees currently employed by Samsonite be produced.

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Further, we ask that full last known addresses of former Samsonite employees based in Rhode Island
and New Hampshire as identified in Amended Appendix A be produced. These individuals are: Josie
Blatchford, Jenna Young, Katie Booth, Michael Harris, Danielle Harrod, Joe Granata, and Michaela
Ferreira. While we understand that the current locations of these former employees are not within
Samsonite International’s possession, custody, or control, full last known addresses of these
particular employees are necessary for Swissdigital to determine whether they are potentially subject
to the Massachusetts Court’s Rule 45 subpoena power.

Finally, Swissdigital’s First Amended Preliminary Infringement Contentions, served on Dec. 4, 2023,
identified an additional accused product—the “Samsonite Just Right Standard Backpack.” We ask
that the corresponding design package identifying the designer, product manager, costing, and sales
individuals be produced.

Best,

Scott Draffin
Keyhani LLC


-----Original Message-----
From: "Joon Chung" <chung@fr.com>
Sent: Monday, December 4, 2023 6:33pm
To: "Jacqueline Altman" <jaltman@namanhowell.com>, "sdraffin@keyhanillc.com" <sdraffin@keyhanillc.com>
Cc: "Bailey Benedict" <benedict@fr.com>, "Jeannet Santos" <jsantos@fr.com>, "palmer@namanhowell.com"
<palmer@namanhowell.com>, "Andy Powell" <Powell@namanhowell.com>, "dkeyhani@keyhanillc.com"
<dkeyhani@keyhanillc.com>, "fstephenson@keyhanillc.com" <fstephenson@keyhanillc.com>, "atindel@andytindel.com"
<atindel@andytindel.com>, "FRService-Samsonite-23cv196" <FRService-Samsonite-23cv196@fr.com>, "Christina
Chambers" <CChambers@namanhowell.com>
Subject: RE: Swissdigital v Samsonite - Case 6:23-cv-196: 2023-10-16 Samsonite Resp re Swissdigital Ltr re JX Disc
Deficiencies



Counsel,

Samsonite International served supplemental interrogatory responses and a supplemental production today. We believe
those supplemental responses and document production address all of Plaintiff’s concerns about venue discovery, and
consider this issue moot. Regarding financials, that is a Rule 408 issue unrelated to venue, and Samsonite International
will not provide its financials at this time.

Separately, we did not receive Plaintiff’s promised updated infringement contentions last week. Please let us know when
we should expect those contentions.

Best,
Joon

From: Jacqueline Altman <jaltman@namanhowell.com>
Sent: Monday, December 4, 2023 12:22 PM
To: sdraffin@keyhanillc.com; Joon Chung <chung@fr.com>
Cc: Bailey Benedict <benedict@fr.com>; Jeannet Santos <jsantos@fr.com>; palmer@namanhowell.com; Andy Powell
<Powell@namanhowell.com>; dkeyhani@keyhanillc.com; fstephenson@keyhanillc.com; atindel@andytindel.com;
FRService-Samsonite-23cv196 <FRService-Samsonite-23cv196@fr.com>; Christina Chambers
<CChambers@namanhowell.com>
Subject: RE: Swissdigital v Samsonite - Case 6:23-cv-196: 2023-10-16 Samsonite Resp re Swissdigital Ltr re JX Disc
Deficiencies

Counsel,

                                                            2
